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     UNITED STATES OF AMERICA                       :
                                                    :
            v.                                      :        CASE NO. 21-cr-382 (PLF)
                                                    :
     CHRISTOPHER WARNAGIRIS,                        :
                                                    :
            Defendant.                              :


CERTIFICATION OF DATA COPIED FROM AN ELECTRONIC DEVICE, STORAGE
             MEDIUM, OR FILE PURSUANT TO FRE 902(14)

       I, Randall Walls, attest under penalties of perjury under the laws of the United States of

America pursuant to 28 U.S.C. § 1746, that the information contained in this declaration is true

and correct. I was previously employed by the Federal Bureau of Investigation (FBI) in the

position of Information Technology Specialist – Forensics Examiner (ITS-FE) at the Washington

Field Office (WFO) Northern Virginia Resident Agency (NVRA) assigned to Computer

Analysis Response Team Laboratory. The ITS-FE is responsible for the lawfully authorized

imaging, extracting/copying of the contents, of electronic devices to include electronic storage

media, cellular telephones, and other electronic devices. By reason of my position and

specialized training, I am authorized and qualified to make this declaration as a “qualified

person” under Rule 902(14) of the Federal Rules of Evidence.

       I further state:

       1.        I created a Cellebrite UFED physical image of an Apple device attached to FBI

       case number 88B-WF-3368293-241_AFO.

       2.        I generated a report for the above device using Cellebrite UFED Physical

       Analyzer version 7.44.2.10.

       3.        The Cellebrite UFED Touch and Cellebrite UFED Physical Analyzer were

       working as designed during the date(s) of extraction and report generation.



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4.     For purposes of FRE 902(14), I certify that Government Exhibit 602 consists of

the report and data that I extracted/copied from the above-described electronic device.

5.     I further certify that Government Exhibits 603 through 632 consist of text

photographs extracted from the above-described electronic device.

6.     I further state that this certification is intended to satisfy FRE 902(14).



                                              ________________________ __
                                              Randall Walls
                                              March 28, 2024




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